            Case 1:16-vv-00610-UNJ Document 24 Filed 03/17/17 Page 1 of 2




                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 16-610V
                                          (Not to be Published)

*************************
                            *
JOHN COLEMAN,               *
                            *                                    Special Master Corcoran
                            *
                Petitioner, *                                    Filed: February 8, 2017
                            *
          v.                *                                    Decision; Attorney’s Fees and Costs;
                            *                                    Pneumococcal Conjugate Vaccine
                            *                                    (“PCV”); Shoulder Injury Related to
SECRETARY OF HEALTH AND     *                                    Vaccine Administration (“SIRVA”).
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*************************

John R. Howie, Jr., Howie Law, PC, Dallas, TX, for Petitioner.

Jennifer L. Reynaud, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                            ATTORNEY’S FEES AND COSTS DECISION1

         On May 24, 2016, John Coleman filed a petition seeking compensation under the National
Vaccine Injury Compensation Program (“Vaccine Program”).2 Petitioner alleged that he suffered
a left shoulder injury as a result of receiving the pneumococcal conjugate vaccine on February 19,
2015. See Petition at 1 (ECF No. 1). Respondent conceded that Petitioner was entitled to
compensation and filed a proffer proposing a specific amount of compensation on December 2,
1
  Although I have not designated this decision for publication, because it contains a reasoned explanation for my
actions in this case, it will nevertheless be posted on the United States Court of Federal Claims website, in accordance
with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012). As provided by 42 U.S.C. § 300aa-12(d)(4)(B),
however, the parties may object to the published decision’s inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule 18(b), each party has fourteen days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to the public.
Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine Act” or “the Act”).
Individual section references hereafter will be to § 300aa of the Act (but will omit that statutory prefix).
            Case 1:16-vv-00610-UNJ Document 24 Filed 03/17/17 Page 2 of 2



2016 (ECF No. 12), which I adopted as my decision awarding damages on the same day. ECF No.
13.

        Petitioner has now filed a motion requesting final attorney’s fees and costs, dated January
18, 2017. See ECF No. 17. Petitioner requests reimbursement of attorney’s fees and costs in the
combined amount of $9,339.88 (representing $8,848.00 in attorney’s fees, plus $491.88 in costs).
Id. In addition, and in compliance with General Order No. 9, Petitioner represents that he incurred
no litigation-related expenses in conjunction with this proceeding. Id. at 18. Respondent filed a
response on February 8, 2017, indicating that she is satisfied the statutory requirements for an
award of attorney’s fees and costs are met in this case and asking that I exercise my discretion in
determining a reasonable award. ECF No. 20.

        I approve the requested amount for attorney’s fees and costs as reasonable. Accordingly,
an award of $9,339.88 should be made in the form of a check payable jointly to Petitioner and
Petitioner’s counsel, John R. Howie, Jr., Esq. Payment of this amount represents all attorney’s fees
and costs available under 42 U.S.C. § 300aa-15(e). In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the Court SHALL ENTER JUDGMENT in
accordance with the terms of Petitioner’s motion.3



         IT IS SO ORDERED.
                                                                       /s/ Brian H. Corcoran
                                                                          Brian H. Corcoran
                                                                          Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or separately)
a notice renouncing their right to seek review.
                                                           2
